                   CASE 0:10-cr-00304-PJS-AJB                          Doc. 281          Filed 11/16/15                Page 1 of 1
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                               __________ District of Minnesota__________

                    United States of America
                               v.                                          )
                                                                           )
                                                                           )    Case No:       10-CR-0304(1) (PJS/AJB)
                      Martin Basurto-Esquivel
                                                                           )    USM No: 15510-041
Date of Original Judgment:         1/26/12                                 )
Date of Previous Amended Judgment:                                         )    N/A (pro se)
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of X the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           X DENIED. ’ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of                   months is reduced to                                      .
                                             (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                             1/26/12              shall remain in effect.
IT IS SO ORDERED.

Order Date:          11/16/15                                                                      s/Patrick J. Schiltz
                                                                                                         Judge’s signature


Effective Date:                                                                PATRICK J. SCHILTZ, United States District Judge
                     (if different from order date)                                                    Printed name and title
